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 1 Robert Salgado (SBN 297391)
   DAVIS & NORRIS, LLP
 2 5755 Oberlin Dr. Suite 301
   San Diego, CA 92121
 3
   Phone: 858-333-4103
 4 Fax Number: 205-930-9989
   Email: rsalgado@davisnorris.com
 5
   Dargan Ware (SBN 329215)
 6 John E. Norris (pro hac vice anticipated)
   Andrew Wheeler-Berliner (SBN 290495)
 7
   DAVIS & NORRIS, LLP
 8 2154 Highland Avenue South
   Birmingham, Alabama 35205
 9 Telephone; 205.930.9900
   dware@davisnorris.com
10 jnorris@davisnorris.com

11 andrew@davisnorris.com

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13                              UNITED STATES DISTRICT COURT

14                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

15 ADRIENNE FRASER, CODEY DeNOYELLES,      )        Case No.: 3:20-cv-02733-EMC
   CHEVALIA MORGAN, CAROLYN                )
16 FLOWERS, PETRINA FENNELL, JILL          )        NOTICE OF VOLUNTARY DISMISSAL
   MAYER, KAT HALL, EUGENE F. ELANDER,     )        OF ALL DEFENDANTS WITHOUT
17 IRIS DELGADO, and CHRISTA RODRIGUEZ     )        PREJUDICE
                         Plaintiff(s),     )
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                                           )
19          vs.                            )
                                           )
20   ROSE ACRE FARMS, INC., MICHAEL        )
     FOODS, INC., HICKMAN’S EGG RANCH,
                                           )
21   INC., DAYBREAK FOODS, INC., PRAIRIE
     STAR FARMS, LLC., OPAL FOODS, LLC.,   )
22   RALEY’S, STATER BROS. HOLDINGS, INC., )
     WAL-MART STORES, INC., WINCO          )
23   HOLDINGS, INC.                        )
                                           )
24                       Defendant(s).     )
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27                                         )
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                                        REQUEST FOR DISMISSAL
         Case 3:20-cv-02733-EMC Document 179 Filed 09/02/20 Page 2 of 2




 1             PLEASE TAKE NOTICE:

 2         PLEASE TAKE NOTICE: Plaintiffs hereby provide Notice to this court of the voluntary

 3 dismissal of the remaining defendants without prejudice. This Notice is provided pursuant to Federal

 4 Rules of Civil Procedure 41(a)(1)(A) as these Defendants have neither answered nor filed a motion

 5 for summary judgment.

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 8 DATED: September 1, 2020                                         DAVIS & NORRIS, LLP

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11                                                                   Robert B. Salgado, on behalf of
                                                                     Plaintiffs and Proposed Class
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